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                         IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 KAREN MORALES POSADA, AMANDA
 SARMENTO FERREIRA GUIMARAES,
 WILLIANA ROCHA, and SARA
 BARRIENTOS, individually and on behalf of
 all others similarly situated,

                          Plaintiffs,                             No. 1:20-cv-11862-IT

             v.

 CULTURAL CARE, INC.,

                          Defendant.


              DECLARATION OF HARVEY J. WOLKOFF IN SUPPORT OF
                DEFENDANT’S MOTION TO COMPEL ARBITRATION

       I, Harvey J. Wolkoff, hereby declare, under penalty of perjury, as follows:

       1.         I am an attorney admitted to practice before this Court. I am a member of the law

firm Quinn Emanuel Urquhart & Sullivan, LLP, counsel to Defendant Cultural Care, Inc.

(“Cultural Care”), in the above-captioned action.

       2.         I submit this declaration in support of Cultural Care’s Motion to Compel

Arbitration (the “Motion”) (filed concurrently herewith). I have personal knowledge of the facts

presented in this declaration, and personal familiarity with the documents and conferrals at issue

in the Motion.

       3.         Before filing the Motion, on June 22, 2023, counsel for Cultural Care met and

conferred with Plaintiffs’ counsel, Matthew Helland and Peter Runkin, via video conference, and

informed them that Cultural Care would move to compel arbitration in Kudlacz et al. v. Cultural
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Care, Inc. et al., No. CGC-20-584567 (Cal. Super. Ct.). The motion to compel arbitration in

Kudlacz relies upon the same arbitration agreement as is at issue in this Action.

       4.       On June 30, 2023 counsel for Cultural Care met and conferred again with Plaintiffs’

counsel, Matthew Helland and Peter Rukin, via video conference, and notified Plaintiffs’ counsel

that Cultural Care intended to move to compel arbitration in this Action unless Plaintiffs consented

to arbitration. Plaintiffs refused to consent.

       5.       Attached as Exhibit A is a true and correct copy of the article titled Arbitration

Procedures and Practice in Switzerland: Overview, by Urs Feller, Marcel Frey, Bernhard C.

Lauterburg, and Prager Dreifuss AG (June 1, 2023).

       6.       Attached as Exhibit B is a true and correct copy of an excerpt of the Swiss Rules

of International Arbitration, as of 2021. The full Swiss Rules of Arbitration, published by the

Swiss Arbitration Centre, are available at https://www.swissarbitration.org/wpcontent/uploads/

2022/07/Swiss-Rules-2021-EN.pdf.

       7.       Attached as Exhibit C is a true and correct copy of an excerpt of the ICC Rules of

Arbitration,   as   of    2021.   The   full     ICC   Rules   of   Arbitration   are   available   at

https://iccwbo.org/dispute-resolution/dispute-resolution-services/arbitration/rules-procedure/2

021-arbitration-rules/.

       8.       Attached as Exhibit D is a true and correct copy of an excerpt of the JAMS

Comprehensive Arbitration Rules & Procedures, as of 2021. The full JAMS Comprehensive Rules

are         available        at         https://www.jamsadr.com/files/Uploads/Documents/JAMS-

Rules/JAMS_Comprehensive_Arbitration_Rules-2021.pdf.

       9.       Attached as Exhibit E is a true and correct copy of the chapter “Law of Contracts”

by Eugen Bucher, from the book INTRODUCTION TO SWISS LAW, published in 2004.




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       10.     Attached as Exhibit F is a true and correct copy of the Complaint in Kudlacz et al.

v. Cultural Care, Inc. et al., No. CGC-20-584567 (Cal. Super. Ct.), as filed May 27, 2020.

       11.     Attached as Exhibit G is a true and correct copy of the First Amended Complaint

in Kudlacz et al. v. Cultural Care, Inc. et al., No. CGC-20-584567 (Cal. Super. Ct.), as filed June

11, 2021.

       12.     Attached as Exhibit H is a true and correct copy of the Order Setting Motion to

Compel Arbitration Hearing in Kudlacz et al. v. Cultural Care, Inc. et al., No. CGC-20-584567

(Cal. Super. Ct.), as filed August 2, 2023.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Executed on this 18th day of August, 2023 in Boston, Massachusetts.


                                                 Respectfully submitted,



                                                 Harvey J. Wolkoff (BBO# 532880)
                                                 harveywolkoff@quinnemanuel.com
                                                 QUINN EMANUEL URQUHART &
                                                 SULLIVAN, LLP
                                                 111 Huntington Ave, Suite 520
                                                 Boston, Massachusetts 02199
                                                 Tel: 617-712-7100

                                                 Attorney for Defendant Cultural Care, Inc.



                                 CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was filed on August 18, 2023
through the ECF System and will be sent electronically to the registered participants as identified
on the Notice of Electronic Filing (NEF).

Dated: August 18, 2023                           /s/ Harvey J. Wolkoff
                                                 Harvey J. Wolkoff


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